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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00190 GEB

12                                Plaintiff,             REQUEST TO DISMISS COUNTS 25, 32, AND 40
                                                         OF THE INDICTMENT; AND ORDER
13                          v.

14   JOHN MICHAEL DICHIARA, et al.,

15                                Defendants.

16

17          In the interests of justice, the United States of America, through Assistant United States

18 Attorneys Audrey B. Hemesath and Todd A. Pickles, hereby requests to dismiss Counts 25, 32, and 40

19 of the Indictment against defendant John Michael DiChiara and Count 32 against defendant George

20 Larsen in the interest of justice.

21          The United States also requests dismissal of the criminal forfeiture allegation against defendants

22 John Michael DiChiara, George Larsen, and Larry Todt, in the interest of justice.

23                                                        Respectfully submitted,

24 DATED: August 31, 2017                                 PHILLIP A. TALBERT
                                                          United States Attorney
25
                                                          /s/ Audrey B. Hemesath
26                                                        AUDREY B. HEMESATH
                                                          TODD A. PICKLES
27                                                        Assistant United States Attorneys
28                                                        For the UNITED STATES OF AMERICA


      REQUEST TO DISMISS COUNTS; [PROPOSED] ORDER        1
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             Case 2:15-cr-00190-KJM Document 233 Filed 09/06/17 Page 2 of 2

 1                                                  ORDER

 2         This matter came before the Court on the United States’s request to dismiss Counts 25, 32, and

 3 40 of the Indictment against defendant John Michael DiChiara and Count 32 against George Larsen in

 4 the interests of justice. The Court hereby ORDERS that Counts 25, 32, and 40 of the Indictment are

 5 DISMISSED against defendant John Michael DiChiara and that Count 32 of the Indictment is

 6 DISMISSED against defendant George Larsen.

 7         The Court furthers dismisses the criminal forfeiture allegation against defendants John Michael

 8 DiChiara, George Larsen, and Larry Todt.

 9          IT IS SO ORDERED.
     Dated: September 5, 2017
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      REQUEST TO DISMISS COUNTS; [PROPOSED] ORDER      2
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